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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                        )       CHAPTER 13
STEPHEN CRAIG MARSHALL                        )       CASE: A18-53890-JWC
                                              )
                                              )
                 DEBTOR                       )

           CHAPTER 13 TRUSTEE’S SUPPLEMENTAL OBJECTION TO
              CONFIRMATION AND MOTION TO DISMISS CASE

       COMES NOW, Nancy J. Whaley, the Standing Chapter 13 Trustee herein, and
objects to Confirmation of the plan for the following reasons:

                                             1.

        It appears the Debtor has no regular source of income, thereby rendering the Debtor
ineligible for Chapter 13 relief pursuant to 11 U.S.C. Section 109(e).

                                             2.

      The plan as proposed will extend to sixty-nine (69) months, which exceeds the sixty
(60) months allowed by 11 U.S.C. Section 1322(d).

                                             3.

      The Debtor has failed to file the sixty (60) days of pay advices pursuant to 11 U.S.C.
Section 521(a)(1).

                                             4.

      The Chapter 13 Trustee requests proof of the post-petition mortgage payments of
$900.00 per month in order to determine feasibility of proposed plan pursuant to 11 U.S.C.
1325(a)(6).

                                             5.

       Schedule A fails to correctly reference the ownership interest of real estate which is
the subject of this Chapter 13 estate.
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                                             6.

      The Chapter 13 schedules fail to reflect the Debtor’s disability income of
$2,200.00 per month, thereby preventing the contribution of all projected disposable
income to this plan in possible violation of 11 U.S.C. Section 1325(b)(1)(B).

                                             7.

       After review of scheduled income and anticipated household expenses, Debtor’s
proposed budget may fail to provide sufficient funds for ordinary living expenses in
possible violation of 11 U.S.C. Section 1325(a)(6).

                                             8.

       The Chapter 13 plan proposes to pay $5,100.00 to the Debtor’s attorney for
payment of attorney fees. The Trustee is unable to determine whether this is a reasonable
fee and requests that Debtor's counsel appear at Confirmation and be prepared to present
evidence to the Court regarding the reasonableness of the requested fee.

                                             9.

      The Debtor is proposing a zero percent (0%) dividend payment to nominal
unsecured debt totaling $1,235.00, which may violate 11 U.S.C. Section 1325(a)(3).

      WHEREFORE, the Trustee moves the Court to inquire into the above objections,
deny Confirmation of the Debtor’s plan, and to dismiss the case.

This the 28th day of June, 2018.
                                        Respectfully submitted,

                                        /s/__________________________________
                                        Ryan J. Williams
                                        Attorney for the Chapter 13 Trustee
                                        State Bar No. 940874
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                             CERTIFICATE OF SERVICE


Case No: A18-53890-JWC

This is to certify that I have this day served the following with a copy of the foregoing
Chapter 13 Trustee's Supplemental Objection To Confirmation And Motion To Dismiss
Case by depositing in the United States mail a copy of same in a properly addressed
envelope with adequate postage thereon.


Debtor(s)
STEPHEN CRAIG MARSHALL
255 HUNTINGTON STREET
COVINGTON, GA 30016



By Consent of the parties, the following have received an electronic copy of the
foregoing Chapter 13 Trustee's Supplemental Objection To Confirmation And Motion To
Dismiss Case through the Court's Electronic Case Filing system.

Debtor(s) Attorney:
SLIPAKOFF & SLOMKA, PC
se@myatllaw.com




This the 28th day of June, 2018.


/s/__________________________________
Ryan J. Williams
Attorney for the Chapter 13 Trustee
State Bar No. 940874
303 Peachtree Center Avenue, NE
Suite 120
Atlanta, GA 30303
